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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

L. LIN WOOD, JR.,
       Plaintiff,
                        v.
                                                           Civil Action No.
 BRAD RAFFENSPERGER, in his official                      1:20-cv-04651-SDG
 capacity as Secretary of State of the State of
 Georgia, et al.,
       Defendants.

                          NOTICE SETTING HEARING

      A hearing is scheduled on Plaintiff’s Emergency Motion for Injunctive Relief

[ECF 6] for Thursday, November 19, 2020 at 3:00 p.m. before the Honorable Steven

D. Grimberg. Due to the current public health emergency, the hearing will be

conducted via remote audio and video means. The dial in instructions are as

follows: https://ganduscourts.zoomgov.com/j/1609807754; Meeting ID: 160 980

7754; Passcode: 841353.

      Plaintiff is DIRECTED to serve a copy of this notice on Defendants and

Intervenor Defendants or their counsel no later than the close of business on

November 18, 2020. If any party intends to call witnesses during the hearing, they

must advise the Court by 12:00 pm on Thursday, November 19, 2020. If any party
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intends to tender exhibits during the hearing, they must provide electronic copies

to the Court by 12:00 pm on Thursday, November 19, 2020.

      Signed this the 18th day of November 2020.




                                                   Steven D. Grimberg
                                             United States District Court Judge
